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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST          Case No. 1:16-cv-08637
LITIGATION
This Document Relates To: All Actions
                                         ALL PLAINTIFFS’ FIRST SET OF
                                         REQUESTS FOR PRODUCTION OF
                                         DOCUMENTS TO ALL DEFENDANTS




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           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs hereby

request that each Defendant produce the documents and things herein requested within 30 days

of the date of service at the offices of Hart McLaughlin & Eldridge, 121 West Wacker Drive,

Suite 1050, Chicago, IL 60601, or such other time and place as may be agreed upon by counsel.

Pursuant to F.R.C.P. 34(b), unless otherwise specified, all documents must be organized and

labeled to correspond to the categories in the associated document request. Corrections and

supplemental answers and production of documents are required as provided for in the Federal

Rules of Civil Procedure.


                                           DEFINITIONS

           The following definitions shall apply to these document requests:

           1.     “And” and “or” are to be read interchangeably so as to give the broadest possible

meaning to a particular request in which either or both is used.

           2.     “Broiler” or “Broilers” have the same meaning as the definition in ¶ 79 of Direct

Purchaser Plaintiffs’ Second Consolidated and Amended Complaint (ECF No. 212).

           3.     “Broiler Breeder Facility” means the breeder farms where Broiler parent stock

which produce fertilized eggs is raised and grandparent stock is received from a Primary Breeder

Company.

           4.     “Broiler Hatchery Facility” means the location where fertilized eggs are received

from a Broiler Breeder Facility and incubated into day-old chicks that are delivered to grow-out

farms to be raised into meat for slaughter.

           5.     “Broiler Processing Facility” means the location where a Broiler is slaughtered.




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           6.           “Broiler Further Processing Facility” means the location where slaughtered

broilers are cut, deboned, cooked, marinated, or included in a value-added product by a Broiler

Producer.

           7.           “Broiler Producer” means Defendants and any non-Defendant entity included in

WattPoultryUSA’s Annual Top Broiler Company survey published each spring (see, e.g., March

2016            Issue       of     WattPoultryUSA,       available     at    http://www.wattpoultryusa-

digital.com/201603#&pageSet=0&contentItem=0).

           8.           “Broiler Supply Factors” refers to any data, calculation, or other information

relating to those factors cited in ¶ 140 of Direct Purchaser Plaintiffs’ Second Consolidated and

Amended Complaint (ECF No. 212) and any similar data You maintain from which Your own or

Broiler industry supply information can be assessed or determined.

           9.           “Communication” or “Communicated” means, without limitation, any exchange

of thoughts, messages, or information, as by speech, signals, writing, or behavior, including but

not limited to, any advice, advisement, announcement, articulation, assertion, contact,

conversation, written or electronic correspondence, declaration, discussion, dissemination,

elucidation, expression, interchange, memoranda, notes, publication, reception, revelation, talk,

transfer, transmission, or utterance. The phrase “communication between” is defined to include

instances where one party addresses the other party but the other party does not necessarily

respond.

           10.          “Competitive Conditions,” in addition to its ordinary meaning and usage, includes

actual or forecasted, projected or estimated conditions or trends relating to pricing, Broiler

Supply Factors, number of spent Broiler breeder hens slaughtered, Broilers available for

purchase by customers, production (including output, capacity, capacity utilization, operating




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rates, facility closures, rationalization, supply or capacity discipline, production or downtime

and/or production scheduling), inventories, demand, sales, profitability or margins, market share

(including mergers, acquisitions, joint ventures, divestitures, sales or transfers of assets, spin-offs

or any other form of change of ownership or control or consolidation), competitors, fixed or

variable costs, imports or exports in the market for Broilers.

           11.   “Complaint” means Direct Purchaser Plaintiffs’ Second Consolidated and

Amended Complaint (ECF No. 212), Commercial and Institutional Indirect Purchaser Plaintiffs’

Third Consolidated Amended Complaint (ECF No. 253), and End-User Consumer Plaintiffs'

Consolidated Amended Class Action Complaint (ECF No. 255).

           12.   “Corporate Communications” means without limitation communications by the

responding parties’ corporate officers or employees responsible in whole or in part for its

external communications or messaging (i.e., to media, financial community, customer base,

government, industry bodies and institutes and general public), including, but not limited to,

public relations, investor or creditor relations, government relations, or similar functions or

activities.

           13.   “Creditor Conference” means any meeting or event organized or hosted by a

company that provides credit or loan financing for Broiler companies or partners, coordinates, or

associates with Broiler companies to provide credit or loans to Broiler companies’ contract

farmers, such as Rabobank, CoBank, John Hancock, Bank of America, Bank of the West, Wells

Fargo, and Farm Credit (including AgGeorgia Farm Credit, Ag Heritage Farm Credit Services,

AgSouth Farm Credit, and Ag First Farm Credit Bank).

           14.   “Creditor Representative” means a Person who is an employee for an entity that

provides financing for Broiler Producers companies or partners, coordinates, or associates with




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Broiler Producers to provide loans to Broiler Producers’ contract farmers who raise chicks into

Broiler Chickens to slaughter on Your behalf, such as Persons who work for entities that hold

Creditor Conferences.

           15.   “Defendant” means any company, organization, entity or person presently or

subsequently named as a Defendant in this litigation including its predecessors, wholly-owned or

controlled subsidiaries or affiliates, successors, parents, other subsidiaries, departments,

divisions, joint ventures, other affiliates and any organization or entity managed or controlled by

a named Defendant, including those merged with or acquired, together with all present and

former directors, officers, employees, agents, attorneys, representatives or any persons acting or

purporting to act on behalf of a Defendant.

           16.   “Document” shall have the same meaning as used in Rule 34 of the Minnesota

Rules of Civil Procedure, and shall be construed in its broadest sense to include, without

limitation, the final form and all drafts and revisions of any paper or other substance or thing,

original or reproduced, and all copies thereof that are different in any way from the original, on

which any words, letters, numbers, symbols, pictures, graphics, or any other form of information

is written, typed, printed, inscribed, or otherwise visibly shown, and also every other form of

stored or recorded information, whether on film, tape, disks, cards, computer memories, or any

other medium and/or device whereby stored information can, by any means whatsoever, be

printed or otherwise recovered, generated or displayed in the form of visible, audible, or

otherwise perceptible words, letters, numbers, symbols, pictures, or graphics. To illustrate (and

not to limit) the breadth of this definition, “document” in this sense papers or objects bearing

handwritten notes, material written in Braille, contracts, letters, bills, telegrams, notes, e-mail,

voice mail, books, desk calendars, memoranda, envelopes, drafts or partial copies of anything,




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signs, photographic negatives and prints, video and audio recordings of all kinds and the contents

of storage media used in data-processing systems. Each and every draft of a document is a

separate document for purposes of these document requests.

           17.   “Document Custodian” refers to Your employees and/or representatives who the

parties agree, or the Court orders, must have Documents in Your, the employee’s, and/or

Representative’s possession, custody, or control collected and produced in this matter.

           18.   “Electronically stored information” or “ESI” means and refers to computer

generated information or data of any kind, stored in or on any storage media located on

computers, file servers, disks, the cloud, tape, or other real or virtualized devices or media. Non

limiting examples of ESI include:

             •   Digital communications (e.g., e-mail, phone calls and logs of phone calls, voice
                 mail, text messaging, instant messaging, and ephemeral messaging (SnapChat,
                 Confide, Signal, etc.));
             •   E-Mail Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange .EDB);
             •   Word processed documents (e.g., MS Word or WordPerfect files and drafts);
             •   Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
             •   Accounting Application Data (e.g., QuickBooks, Money, Peachtree data);
             •   Image and Facsimile Files (e.g., .PDF, .TIFF, .JPG, .GIF images);
             •   Sound Recordings (e.g., .WAV and .MP3 files);
             •   Video and Animation (e.g., .AVI and .MOV files);
             •   Unstructured Data;
             •   Structured Databases (e.g., Access, Oracle, SQL Server data, SAP);
             •   Contact and Relationship Management Data (e.g., Outlook, ACT!);
             •   Calendar and Diary Application Data (e.g., Outlook PST, blog entries);
             •   Online Access Data (e.g., Temporary Internet Files, History, Cookies);
             •   Presentations (e.g., PowerPoint, Corel Presentations);
             •   Network Access and Server Activity Logs;
             •   Project Management Application Data;



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             •   Backup and Archival Files (e.g., Veritas, Zip, .GHO, iTunes archives of iPhone
                 content); and
             •   Cloud based or other virtualized ESI, including application, infrastructure and
                 data.
           19.   “Employee” means, without limitation, any Person that You employ or employed

during the Relevant Time Period.

           20.   “Including” is used to emphasize certain types of Documents requested and

should not be construed as limiting the request in any way.           Including therefore means

“including, but not limited to,” or “including without limitation.”

           21.   “Industry Analyst” means a Person or entity who analyzes Competitive

Conditions in the Broiler industry for the purpose or with the effect of advising on investment in

or providing financing to Broiler Producers, such as Persons who work for entities who host

Industry Conferences.

           22.   “Industry Conference” means any meeting, webinar, telephone conference, or

event involving one or more Broiler Producers organized or hosted by an entity that either

invests its own money or advises others who have an ownership interest in any Broiler Producer,

such as Stephens, Inc., D.A. Davidson & Co., Goldman Sachs, BMO Capital Markets, JP

Morgan, Merrill Lynch, Bank of America, Deutsche Bank, or similar companies including but

not limited to the Goldman Sachs Global Staples Forum, Bank of America Merrill Lynch Global

Agriculture Conference, BMO Capital Markets Annual Ag & Protein Conference, BMO Capital

Markets Conference, BMO Farm to Market Conference, and JP Morgan Basic Materials

Conference.

           23.   “Industry Meeting” means, without limitation, any meeting, directly or indirectly

relating to the market for Broilers, Overseas Distribution Services, Inc., conferences hosted by

Urner Barry, Agri Stats, any joint venture, entity, affiliation, or association created under the



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Export Trading Company Act (15 U.S.C. §§ 4001-21), Trade Association (or other industry or

similar organizations) or other entities or persons, whether formal, informal or ad hoc, involving

two or more producers of Broilers and includes any formal or informal committee or other sub-

unit.

           24.   “Management” shall be construed broadly and means without limitation,

Employees or other Persons with executive, management, supervisory or policy-setting

responsibilities, both individually and collectively, and, depending upon context, includes their

administrative assistants, secretaries, or other support staff.

           25.   “Meeting” means, without limitation, any assembly, convocation, encounter,

communication or contemporaneous presence (whether in person or via any electronic,

computer-assisted, digital, analog, video, or telephonic method of communication) of two or

more persons for any purpose, whether planned or arranged, scheduled or not.

           26.   “Named Plaintiffs” means those individuals or entities listed as plaintiffs in the

Complaint, and any entities subsequently added as named plaintiffs in this matter.

           27.   “Person” means, without limitation, any individual, corporation, partnership or

any variation thereof (e.g., limited partnership, limited liability partnership), limited liability

company, proprietorship, joint venture, association, group or other form of legal entity or

business existing under the laws of the United States, any state or any foreign country.

           28.   “Planning Staff” shall be construed broadly and means without limitation,

Employees or other Persons with strategic planning, informational or analysis responsibilities

both individually and collectively, and, depending upon context, includes their administrative

assistants, secretaries or other support staff.




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           29.   “Policy” or “procedure” means any rule, practice or course of conduct, guidelines

or business methods or traditions whether formal or informal, written or unwritten, recorded or

unrecorded, which was recognized or followed, explicitly or implicitly, by You.

           30.   “Primary Breeder Company” or “Primary Breeder Companies” means those

entities that develop and reproduce strains of Broiler chicken for Broiler Producers, including

Tyson’s Cobb-Vantress (including its purchase of Perdue Farms’ genetics division), Hubbard,

and Aviagen.

           31.   “Relating to,” “referring to,” “regarding,” “with respect to” or “concerning” mean

without limitation the following concepts: concerning, constituting, discussing, describing,

reflecting, dealing with, pertaining to, analyzing, evaluating, estimating, constituting, studying,

surveying, projecting, assessing, recording, summarizing, criticizing, reporting, commenting, or

otherwise involving, in whole or in part, directly or indirectly. Documents are considered relating

to the subject matter whether they are viewed alone or in combination with other Documents.

           32.   “Representative” shall mean any and all agents, employees, servants, independent

contractors, consultants, officers, directors, associates, or other persons acting or purporting to

act on Your behalf or on behalf of the person in question.

           33.   “Sales Personnel” shall be construed broadly and means, without limitation, any

Employees or other Persons that had responsibility, directly or indirectly, relating to sales to

customers of Broilers sold in the U.S. (including any role or responsibility for selling,

determining or establishing pricing, effectuating, or establishing terms and conditions of sales or

purchases).




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           34.   “Structured Data” or “Structured Database” refers to any data that resides in a

fixed field within a record or file, such as data stored in Oracle, SQL, or files that are in

Columns/Rows or a fixed field with a predefined format.

           35.   “Studies” or “analyses” include all reports, memoranda, statistical compilations,

reviews, audits and other types of written, printed, or electronic submissions of information.

           36.   “Trade Association” means any group, committee, subcommittee, or association,

formal or informal, relating to the market for Broilers including, but not limited to, the National

Chicken Council, United States Poultry & Egg Export Council (“USAPEEC”), U.S. Poultry &

Egg Association (“U.S. Poultry”), Georgia Poultry Federation, North Carolina Poultry

Federation, The Poultry Federation (including any predecessor organizations), Mississippi

Poultry Association, Inc., Alabama Poultry & Egg Association, Louisiana Poultry Federation,

International Poultry Expo (“IPE”), International Producers and Processors Expo (“IPPE”),

International Poultry Council (“IPC”), American Meat Institute, US Meat Export Federation, and

includes any formal or informal committee or other sub-unit.

           37.   “United States” or “U.S.” means each of the 50 states, the District of Columbia,

and the commonwealths, territories, and possessions of the United States.

           38.   “Unstructured Data” is data that does not conform to a specific, pre-defined data

model, it may be human generated and in various formats that fit into structured database tables

and columns. Common examples include, but not are limited to, word processing documents,

Emails, blogs, social media extracts, tweets, picture captions, GPS data, and others of similar

variable formats.

           39.   “You,” “Your” or “Your company” mean the responding Defendant, including its

predecessors, wholly-owned or controlled subsidiaries or affiliates, successors, parents, other




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subsidiaries, departments, divisions, joint ventures, other affiliates and any organization or entity

that the responding Defendant manages or controls, including those merged with or acquired,

together with all present and former directors, officers, employees, agents, attorneys,

representatives or any persons acting or purporting to act on their behalf.

                               SPECIFIC DOCUMENT REQUESTS

           The “Relevant Time Period” for these requests is January 1, 2007 through and including

September 2, 2016, unless otherwise noted.

   REQUEST NO. 1:            All Communications and Documents reflecting Communications

between You and any other Defendant.

   REQUEST NO. 2:            For each Document Custodian, all:

           a)     electronic and hard copy diaries, calendars, appointment books, notebooks, to-do
                  lists, Day Timers, day planners or appointment notes;

           b)     contact information maintained in Microsoft Outlook, similar programs, Rolodex
                  cards, or any other format, for any Person who is or was: (i) an owner, employee,
                  consultant, officer, board member, Representative, or agent of a Broiler Producer
                  or Agri Stats; (ii) a Creditor Representative or Industry Analyst; (iii) employee of
                  a Trade Association; or (iv) employee of any entity that falls within the definition
                  of Industry Meeting.

           c)     trip and travel logs, records, expenses, and other supporting Documents;

           d)     expense and entertainment reports, including supporting Documents;

           e)     bills, statements, records, and supporting Documents concerning local, long
                  distance, and cellular telephone calls by such employees, including calls made
                  using telephones not paid for by You (such as home office, fax, and personal
                  telephone numbers, personal cellphones, and temporary pay-as-you go
                  cellphones) if such telephones were used for business purposes;

           f)     Documents relating to membership in any Trade Association or industry group or
                  attendance at any Industry Meeting, Creditor Conference, or Industry Conference;

           g)     a copy of the Person’s most recently created resume or curriculum vitae (CV);

           h)     personnel file, including any discipline or performance evaluations, and any terms
                  of employment (such as confidentiality or non-compete agreements);



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           i)   copies of any transcripts or recordings of prior testimony relating to Competitive
                Conditions in the market for Broilers, such as testimony at a deposition, trial, or
                public hearing;

           j)   Documents sufficient to show the Document Custodian’s complete contact
                information, including all phone numbers, social media user names or “handles,”
                and email addresses used by such persons for any business purposes, even if only
                sparingly; and

           k)   Any severance agreements in connection with the Document Custodian ceasing
                employment or changing employment status with You (without time limitation).

   REQUEST NO. 3:          All Documents relating to any Trade Associations, Industry Meetings,

Investor Conferences, or Creditor Conferences, including membership lists, announcements,

dates and locations for meetings, presentations (including speaker notes, where applicable),

agendas, minutes, notes, attendance lists, expense reports, handouts, reports, statistical bulletins,

and correspondence.

   REQUEST NO. 4:          All Documents relating to Communications with investors, Industry

Analysts, and/or Creditor Representatives regarding Competitive Conditions in the Broiler

industry.

   REQUEST NO. 5:          All Structured Data, Documents, and Communications regarding the

terms of all purchases, sales, trades, exchanges, or swaps of Broilers between You and any other

Broiler Producer, including any contracts, joint ventures, and/or other agreements, whether

formal or informal.

   REQUEST NO. 6:          Documents relating to budgets, projections, estimates, or related

studies, presentations, or reports regarding Broilers regularly prepared or received by Your

current or former directors, officers, Management, or Planning Staff on a regular basis (weekly,

monthly, quarterly, or annually) regarding the following topics:

           a.   cost and/or cost accounting reports (including, production, sale and distribution);

           b.   audited or unaudited financial statements (including all appendices);


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           c.   cost and supply of raw material and/or inputs, including any back-integration of
                raw materials, swaps or sales of raw materials with other Broiler producers, or
                hedging of purchased raw materials and/or inputs for Broilers;

           d.   distribution channels for Broilers;

           e.   export markets for Broilers including a breakdown of country of destination and
                product form;

           f.   Broiler product information regarding the types and product forms of Broilers
                sold by You;

           g.   forecasted, projected, estimated, planned, or actual demand for Broilers;

           h.   demand changes or demand fluctuations for Broilers sold in the U.S.; and

           i.   profits, revenues, and loss information on Broilers produced or sold in U.S.
                identified on a (i) consolidated basis; (ii) product line or product category basis;
                and/or (iii) facility-by-facility basis, (including, but not limited to, gross profits,
                operating profits, net profits, cash flow reports, and EBITDA).

   REQUEST NO. 7:          All Documents that compare or contrast Broilers sold by You in the

U.S. with Broilers sold by any other Broiler Producer (including product characteristics, product

forms, packaging, specifications, quality, prices, availability, delivery schedules, etc.), any

product crosswalks, or any other comparison showing how Broilers sold by You compare to

other Broiler Producers.

   REQUEST NO. 8:          Document sufficient to show industrywide standards of products and

definitions/descriptions of standards for Broilers.

   REQUEST NO. 9:          Documents sufficient to show actual or potential substitutes for

Broilers analyzed by You during the Class Period (including the effect of such substitutes’ prices

upon Broiler pricing, purchase terms, or profits).

  REQUEST NO. 10:          Documents sufficient to show Your ability to identify or trace in the

supply chain each Broiler You slaughter in the event of a food safety recall, including Your

ability to track or identify chicken meat incorporated into value-added Broiler products.




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  REQUEST NO. 11:           All Documents utilized or generally referred to by Your Management

or Sales Personnel for quoting, changing, or setting the prices or the terms and conditions for sale

of Broilers, including Documents relating to pricing guidelines, pricing methods, pricing

formulas, procedures or authorization procedures for Sales Personnel to quote a price, price

changes, price lists, pricing policies, pricing guidelines, pricing methods, violations of pricing

policies and Documents providing guidance to Sales Personnel about implementation of price

changes.

  REQUEST NO. 12:           All Documents relating to or communicating Broiler price

announcements, price changes, explanations of the reasons for price changes, price lists, pricing

policies, pricing guidelines, pricing methods, pricing formulas, procedures or authorization

procedures for Sales Personnel to quote a price, analysis of market prices, monitoring of

competitor pricing, price changes of Broilers produced or sold in the U.S. (including price

announcements or explanations of the reasons for price changes), price increase and surcharge

announcements, and any other Communications concerning Broiler price increases or the

imposition of surcharges.

  REQUEST NO. 13:           All Documents relating to any contemplated, proposed, or actual bids

for the sale of Broilers (e.g., a request for bid or online auction), including Documents

concerning whether or not to bid and the availability of Broilers from other Broiler Producers to

fulfill a bid.

  REQUEST NO. 14:           All Documents relating to the forecasted, projected, estimated, or

actual effects of the relationship of changes of Broiler price, supply, and/or demand, including

any estimates of the elasticity of supply or demand, or price sensitivity of Broilers.




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  REQUEST NO. 15:         Documents sufficient to identify Your cost accounting policies and

procedures for Broilers and accounting policies and procedures for intra-company transfer

pricing and transactions between Broiler Producers for Broilers.

  REQUEST NO. 16:         Documents sufficient to describe in detail Your policies and

procedures concerning imposition of surcharges and customer rebates, credits, discounts and any

other special price arrangements.

  REQUEST NO. 17:         All Documents or Communications with or about Primary Breeding

Companies relating to Broiler Supply Factors, including any complaints by You or any Broiler

Producer about the receipt of inferior or sick Broiler breeder stock (e.g., grandparent stock from

a Primary Breeder Company), any analysis of the effect of Broiler breeder stock levels on the

supply or price of Broilers (including both grandparent and great-grandparent Broiler breeders

from Primary Breeding Companies), and any condition with respect to Your receipt of Broiler

breeder stock from a Primary Breeding Company being contingent on You lowering or agreeing

not to increase Your production and/or supply of Broilers.

  REQUEST NO. 18:         All Structured Data and supporting Documents provided to or received

from Agri Stats, Inc. or any of its affiliates (including Express Markets, Inc.), including flock

and/or complex level data for both Broiler breeders and Broilers and any data compilations

concerning Agri Stats You maintained, such as any data reformatted, reprocessed, or otherwise

used in analyzing Agri Stats data.

  REQUEST NO. 19:         All Communications to and from, and all Documents relating to, the

Georgia Department of Agriculture (including the Georgia Dock Broiler price index), United

States Department of Agriculture and its subdivisions, IRi, Nielsen, Urner Barry, Agri Stats, or




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Express Markets, Inc. regarding Broiler Supply Factors, Broiler supplies, Broiler exports, or

Broiler pricing.

  REQUEST NO. 20:         To the extent not produced in response to other Requests, all

Documents and Communications regarding the Broiler market collected, disseminated,

purchased or received from, reported to, and/or published by the Georgia Department of

Agriculture (including the Georgia Dock Broiler price index), United States Department of

Agriculture and its subdivisions, IRi, Nielsen, Urner Barry, Agri Stats, Express Markets, Inc..

  REQUEST NO. 21:         From January 1, 2007, through the present, all Documents relating to

the Georgia Department of Agriculture and Broilers, Broiler supplies, or Broiler pricing,

including the Georgia Dock Advisory Committee, information collection, verification, auditing,

and reporting methodologies or procedures, inaccuracies, errors, or vulnerabilities to

manipulation of the Georgia Dock price index, any agreement with other Defendants or co-

conspirators concerning reporting of information for the Georgia Dock, any responses or

Communications relating to any investigation (whether formal or informal) concerning the

accuracy of information reported to the Georgia Department of Agriculture (including the United

States Department of Agriculture’s investigation disclosed publicly in early November 2016),

and documents relating to the proposed Georgia Premium Poultry Price Index.

  REQUEST NO. 22:         All Documents or Communications relating to or exchanged with Agri

Stats or its affiliates (including Express Markets, Inc.), including any consideration of the risks

and/or benefits of providing information to or receiving information from Agri Stats, the

anonymity of individual Broiler producer data received from Agri Stats, any reverse-engineering

processes employed by You to de-anonymize Agri Stats data, any contracts or agreements with




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Agri Stats, any presentations, reports, or meeting minutes received from or provided to Agri

Stats, and all copies of Agri-Stat’s Bottom-Line Report.

  REQUEST NO. 23:          All Documents relating to Competitive Conditions in the market for

Broilers, including reports, presentations, industry publications, business plans, studies, analyses,

or other Documents concerning forecasted, projected, estimated, planned or actual: (i) market

shares, (ii) consolidation, mergers, acquisitions, or joint ventures, (iii) production or processing

capacity, capacity reduction, capacity utilization, or operating rates (iv) fixed or variable costs,

(v) pricing, (vi) inventories (vii) entry or exit conditions (viii) inventories, (ix) supplies/supply

trends, (x) data, publications, or other sources used in the regular course of business by You to

monitor Broiler demand in the United States, (xi) substitute products, (xii) exports, (xiii) raw

materials, (xiv) Broiler Supply Factors, or (xv) other industry statistics.

  REQUEST NO. 24:          All Documents concerning Broiler supply rationalization, industry

leadership, industry discipline, production discipline, supply discipline, capacity discipline, or

other so-called disciplined approaches or practices relating to the Broiler industry.

  REQUEST NO. 25:          All Documents and Communications relating to any memoranda,

studies, reports, analyses, or presentations analyzing Competitive Conditions in the Broiler

industry prepared by a consulting firm, including Bain & Company, McKinsey & Company,

Deloitte & Touche, The Hudson River Group, and Charles River Associates.

  REQUEST NO. 26:          Documents sufficient to identify any tentative, proposed or

consummated sale, acquisition, merger, joint venture, divestiture, transfer of assets, spin-off, or

any other form of change of ownership or control or business combination concerning any

Broilers-related business, production facilities, product lines, or other assets (including both

businesses or assets owned or controlled by You and those owned or controlled by other




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Persons), and any minutes, notes, reports, studies, analysis, presentations, expert or market

participant comments, analysis or other information submitted to or received from any

governmental agency.

  REQUEST NO. 27:           All Documents and Communications relating to the immediately prior

Request that reflect the disclosure of any non-public information to another Broiler Producer

concerning Broiler Supply Factors, Broiler pricing, or any future Broiler supply plans, including

documents made available to You or by You through an electronic “data room” associated with a

proposed transaction.

  REQUEST NO. 28:           All Documents relating to public announcements, press releases, or

Corporate Communications by You concerning Competitive Conditions for Broilers.

  REQUEST NO. 29:           All Documents that directly or indirectly relate, in whole or in part,

alone or when viewed with other Documents any combination, conspiracy, agreement or

understanding, explicit, implied or tacit, to fix prices, reduce output, limit production, limit

capacity, limit supplies, limit inventories, or allocate customers, product lines or territories for

Broilers sold in the U.S.

  REQUEST NO. 30:           All Documents relating to compliance policies whether implemented,

adopted, used or considered concerning federal, state, or international antitrust laws, competition

laws, anti-monopoly laws, anti-cartel laws, unfair competition laws, anti-bribery laws and any

similar laws or regulations, or contacts and/or Communications with Your competitors

(including current and former versions of compliance policies and procedures, presentations,

seminars, programs, memos, Corporate Communications, statements signed by Your employees

with responsibility for Broilers that acknowledge receipt of or compliance with such policies

arising from or relating to any prior legal proceedings), and all Documents relating to any




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inquiries or investigations concerning compliance with such policies including those listed in the

prior Request.

  REQUEST NO. 31:           All Documents relating to any joint defense, contribution, indemnity

or judgment sharing agreement relating to any investigation, civil or criminal litigation involving

the production, sale, resale or marketing of Broilers.

  REQUEST NO. 32:           All Documents relating to the Named Plaintiffs in this action.

  REQUEST NO. 33:           From September 2, 2016, through the present, all Documents relating

to any changes made to the conditions, terms of sale, contracts, rebates, discounts, and/or special

pricing for the sale of Broilers to any Named Plaintiff.

  REQUEST NO. 34:           From January 1, 2000 through the present, all Documents relating to

competition in the Broiler industry produced to the Department of Justice, Federal Trade

Commission, U.S. Department of Agriculture, Georgia Department of Agriculture, U.S.

Securities & Exchange Commission, states’ attorneys general, or other government agencies or

regulators voluntarily or pursuant to any civil investigative demand, grand jury subpoena, or

other investigative request.

  REQUEST NO. 35:           For the period January 1, 2000, through the present, all Documents

relating to any possible or alleged violations of federal, state, or international antitrust laws,

competition laws, anti-monopoly laws, anti-cartel laws, anti-dumping laws, unfair competition

laws, anti-bribery laws and any similar laws, rules or regulations by You, any other Defendant or

any other Broiler-related business or person (including any current or former officers, directors,

Employees or other persons) including:

           a.    any inquiry, investigation, administrative, criminal or civil litigation or similar
                 actions (regardless of characterizations such as non-adjudicative, cooperating,
                 preliminary, informal, formal, incomplete, open, closed or final) by any
                 government entity, legislative body or representative or instrumentality thereof



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                (i.e., the United States Department of Justice, the Federal Bureau of Investigation,
                the Federal Trade Commission, the International Trade Commission, any state
                law enforcement agency, any grand jury, any committee of the United States
                Congress, any agency of a state or other political subdivision, and any domestic or
                international government body) (including all Documents received from or
                provided to such governmental entities or used during or regarding discussions or
                negotiations with them);

           b.   any internal inquiry or investigation (regardless of characterizations such as non-
                adjudicative, cooperating, preliminary, informal, formal, incomplete, open, closed
                or final) and further including any violation of internal antitrust or competition
                law policies or practices; and

           c.   any private actions or civil litigation (including arbitrations, mediations or
                negotiations and further including any violation of internal antitrust or
                competition law policies or practices) in which You have been a party, witness,
                participant, or subject.

  REQUEST NO. 36:          Without time limitation, all Documents relating to actions to conceal

or avoid detection of any potential violations of federal, state, or international antitrust laws,

competition laws, anti-monopoly laws, anti-cartel laws, unfair competition laws, anti-bribery

laws and any similar laws, rules or regulations (including the use of code words or otherwise

masking the identity of any Person or entity, meeting in locations or communicating at times or

via methods with the intent to avoid detection by any Person or entity, using non-traceable

prepaid calling cards or cellphones, non-contract or disposable cell phones, placing calls from

public phones, and destroying, secreting, altering or forging Documents).

  REQUEST NO. 37:          Without time limitation, Documents sufficient to show the terms and

conditions of any preliminary or permanent injunction, consent decree, plea agreement,

sentencing agreement, settlement agreement or stipulation of settlement in a class action or

private action, judgment or similar orders or agreements relating to alleged violations of federal,

state, or international antitrust laws, competition laws, anti-monopoly laws, anti-cartel laws,

unfair competition laws, anti-bribery laws and any similar laws, rules or regulations entered




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against You or any other Defendant, including In re Chicken Antitrust Litigation, Civ. No. C74-

2454A (N.D. Ga.).

  REQUEST NO. 38:          All Documents relating to complaints received from any Broiler

customer regarding prices, pricing, or terms or conditions of sale or the refusal or failure to

supply Broilers and any responses thereto, and all Documents reflecting any policy of Your

company concerning the handling of such complaints.

  REQUEST NO. 39:          All Documents that support or disprove any affirmative defense

alleged by any Defendant in this action, including the statute of limitations, doctrines of estoppel

and laches, or release of any claims.

  REQUEST NO. 40:          Documents sufficient to show all forms of contracts and invoices, and

any summaries of the terms (including duration, price protection, terms for price modification,

surcharges, discounts, or rebates) for the sale of Broilers in the U.S. to Your customers.

  REQUEST NO. 41:          Your Structured Data sufficient to summarize the pricing provisions of

Your customers’ Broiler contracts or purchases, including any changes to those provisions over

time and the Broiler price index to which such prices are tied.

  REQUEST NO. 42:          All Documents relating to any decision to change the pricing terms for

Your customers’ contracts for Broilers, including any analyses regarding changes from fixed-

price to adjustable price provisions.

  REQUEST NO. 43:          Documents sufficient to identify and describe Your computer

hardware and systems (including email systems), software, ESI, Structured Databases, storage,

backup and archiving systems and Communications systems and devices used in connection with

Documents called for by production of the Requests for Production herein, including data maps,




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explanations of information contained in each system or database, and document retention

policies.

  REQUEST NO. 44:         All Documents necessary to understand the operation of any of the

computer hardware and systems, software, Structured Databases, ESI, database, storage, backup

and archiving systems and Communications systems and devices information requested herein

(including, but not limited to, Documents describing or defining the fields contained in any such

database file naming conventions and standards); user manuals; Help features or documentation;

password, encryption, and other security protocols; diskette, CD, DVD, and other removable

media labeling standards; email storage conventions, e.g., limitations on mailbox sizes/storage

locations; schedule and logs for storage; software and hardware upgrades (including patches) for

the relevant time period (including who and what organization conducted such upgrades); and

Backup tape rotation.

  REQUEST NO. 45:         Documents sufficient to identify or describe the outputs of Your

Structured Databases, ESI, information systems, databases and Communications systems used by

You to record, store, communicate, compute, analyze, organize, or retrieve information relating

to Documents and Structured Data You produce in this matter (including all mainframe systems,

legacy systems, archives, computers, networks, telephones, handheld devices, smart phones,

storage or archiving systems, and word processing, electronic mail, personal information

managers, calendar, or spreadsheet programs).

  REQUEST NO. 46:         All Documents related to the claims and allegations in the Complaint.

  REQUEST NO. 47:         All Documents referenced or relied upon in responding to any

Interrogatory served by any party in this Action.




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  REQUEST NO. 48:          For the time period from January 1, 2002 through December 31, 2017,

Structured Data sufficient to show, for each U.S. Broiler sale, the categories of information listed

below, and Documents sufficient to understand all data fields, codes, or other fields on the

invoice. Plaintiffs request this information in the most disaggregated form (meaning at the

transactional level, not aggregated by month or quarter) in which it is kept, and Defendants

should produce the data in a comma-delimited text file (e.g., a file with a file extension of .csv or

.txt). If You maintain separate or distinct sets of such data for internal purposes, Agri Stats

reporting purposes, or any other purpose, Plaintiffs’ request is for each separate set of data for

the categories of information listed below.

               a.      the terms of each sale;

               b.      the invoice number;

               c.      the purchase order number;

               d.      the location from which the Broilers were shipped;

               e.      the customer’s name, phone number(s), address(es), email address(es),
                       including the identity of the customer that was billed and the location to
                       which the Broilers were shipped;

               f.      the date You shipped the Broilers, the date You billed for the Broilers, and
                       the date the customer took delivery;

               g.      the grade, cut, product form, and/or type of Broiler, including any product
                       numbers, unique purchaser-specific identifier, and product descriptions
                       sold for each transaction;

               h.      the quantity (and units of measure) for each sale;

               i.      all pricing information concerning the sale, including shipping, tax, or
                       similar charges, and the gross and net unit price for each item in the sale;

               j.      the currency in which the sale was billed and paid;

               k.      any discounts, rebates, credits, freight allowances, returns, free goods,
                       and/or services or any other pricing adjustment for each sale, with
                       sufficient information to attribute these adjustments to individual sales;



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               l.      if a resale, the Supplier of each Broiler sold in connection with each sale;

               m.      the price You paid Your Supplier for each type of Broiler sold in
                       connection with each sale, including gross and net aggregate and per-unit
                       prices;

               n.      any fixed or variable costs or costs of goods sold concerning the sale
                       (including freight charge and transportation cost, sales and distribution
                       cost, raw materials, intermediates, marketing or sales cost, and any other
                       cost attributed or allocated to the sale);

               o.      for any sale or purchase from another Broiler producer, Electronic Data
                       Interchange fields for which the user can freely enter text, such as
                       “comments” or similar fields;

               p.      any Structured Database field summarizing terms of sale or agreements or
                       contracts for customers;

               q.      any other data available in Your database Concerning the purchase, sale or
                       distribution of the Broilers for each sale.

  REQUEST NO. 49:          For the period January 1, 2002 through December 31, 2017,

Documents sufficient to show Your production processes, including each class, type, cut, grade,

or category of Broilers that You manufactured, marketed, sold or distributed in the U.S.

(including raw material inputs).

  REQUEST NO. 50:          Documents sufficient to describe in detail the Broiler products You

sold, marketed, or distributed from January 1, 2002 through December 31, 2017, including any

variations relating to brand name, its physical properties and characteristics, packaging, product

form, cut, further processing, grade, specialty products and any other factors influencing price.

  REQUEST NO. 51:          For the period January 1, 2002 through December 31, 2017,

Documents sufficient to identify all of Your Broiler Hatchery Facilities, Broiler Breeder

Facilities, Broiler Processing Facilities, and Broiler Further Processing Facilities.




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  REQUEST NO. 52:          From January 1, 2002 through December 31, 2017, Your Structured

Data relating to Broiler Supply Factors in the most disaggregated form in which You maintain

such data.

  REQUEST NO. 53:          From January 1, 2002 through December 31, 2017, Structured Data

and Documents sufficient to show the following information by product form/type/grade/cut

Your monthly, quarterly, and annual:

           a.   Processing, production, capacity, and capacity utilization by facility;

           b.   Broiler export shipments (including destination country);

           c.   Exports of Broiler breeder hens, Broiler breeder chicks, or Broiler breeder eggs,
                including destination country and the name, address, and terms under which the
                eggs were transferred and/or sold to the foreign entity;

           d.   Any data You maintain regarding Broiler imports into the U.S. (including country
                of origin);

           e.   Inventories (frozen, fresh, and value-added);

           f.   Demand for Broilers;

           g.   Total cost and total variable cost, as well as disaggregated costs (e.g., fuel). To
                the extent not provided in the cost data, data and/or Documents sufficient to show
                the relative proportion of cost associated with each component of variable cost
                and each component of total cost throughout the Relevant Time Period; and

           h.   United States sales of Broilers, including sales either shipped or billed.

  REQUEST NO. 54:          Documents sufficient to show Your corporate organizational structure

throughout the Relevant Time Period, including, but not limited to, departments, divisions,

parents, subsidiaries, joint ventures, affiliates, units or other subdivisions that had any role during

any in the production, processing, distribution, marketing, pricing or sale of Broilers.

  REQUEST NO. 55:          All Documents concerning the costs of and potential obstacles to

entering the Broiler market, including, but not limited to, capital costs, environmental



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regulations, production costs, marketing costs and difficulties, contractual supply relationships,

market conditions, brand loyalty or differentiation, start-up costs, and any other difficulties or

obstacles to entry into the market for producing and selling broilers.

  REQUEST NO. 56:           All Documents concerning the identity of any actual or potential

entrant(s) into the Broiler market and any barriers, obstacles or difficulties facing the actual or

potential entrant(s).

  REQUEST NO. 57:           Documents sufficient to identify the Management and Sales Personnel

having non-clerical responsibilities or duties with respect to any of the following:

           a.   the production or processing of Broilers;
           b.   the marketing or promotion of Broilers;
           c.   the pricing of Broilers;
           d.   the sale or distribution of Broilers;
           e.   antitrust compliance;
           f.   the maintenance of any electronic database(s), including archives of emails or
                other electronic documents relating to Broilers.


  REQUEST NO. 58:           Documents sufficient to show any insurance policies, indemnification

agreements, judgment sharing agreements or hold harmless agreements that may provide

coverage to You or any other defendant named in this action for any of the claims or causes of

action asserted in this action, or that may provide reimbursement for payments made or costs

incurred in defense of this action.




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Date: February 28, 2017

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